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                                                                          1


 1                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
 2

 3     BNSF RAILWAY COMPANY, on            )
       behalf of THE UNITED STATES         )
 4     OF AMERICA,                         )       Civil Action
                                           )    No. CV-19-40-M-DLC
 5             Plaintiff,                  )
                                           )
 6     vs.                                 )
                                           )
 7     THE CENTER FOR ASBESTOS             )
       RELATED DISEASE, INC.,              )
 8                                         )
               Defendant.                  )
 9                                         )

10

11

12

13               REMOTE VIDEO RECORDED EXPERT DEPOSITION

14                                    OF

15                     ARTHUR L. FRANK, M.D., Ph.D.

16                (Taken on behalf of the Plaintiff.)

17

18

19

20

21
                        Taken Remotely Via Zoom
22             Wednesday, July 6, 2022 - 1:28 p.m. (EDT)

23

24
             Reported by Beth Gilman, RPR and Notary Public
25            for the State of Montana, County of Flathead


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                                                                        Exhibit 68-1
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                                         REMOTE DEPOSITION OF ARTHUR L. FRANK, M.D., Ph.D.
                                                                 41                                                                             43
 1              What I would do in a case like that is, I                   1    First of all, I don't know who those individuals are.
 2   would read the x-ray myself, I would make my own                       2            Q.    Correct.
 3   determination, and then I would look and see what                      3            A.    Secondly, I may have looked at charts of
 4   other people have read.                                                4    some of those individuals that I reviewed on one or
 5              The other, you know, piece of this that you                 5    another other occasion with Dr. Black, but even if you
 6   haven't mentioned is if it is in a medical/legal                       6    presented me right now with that list of names I
 7   context. I will tell you that I have seen -- as you                    7    couldn't answer you that I had seen any of these
 8   probably know, there have been B-readers that have                     8    because I have absolutely no recollection of the name
 9   been prohibited from testifying in court because of                    9    of any given individual whose chart or x-ray or CT I
10   over-reading. One particular individual comes to                      10    may have seen.
11   mind, and I never trusted his x-rays because he'd read                11            Q.    All right. Doctor, I just want to cover a
12   the vast majority of them as positive. That said, the                 12    couple of things that appear in your report related to
13   huge bulk of under-reading is from, you know, to my                   13    these medical/legal cases when you were working with
14   mind, predictable physicians who I learned -- you                     14    attorneys. And I don't know if these are specific
15   know, the worst thing I think I ever said about a                     15    examples from the 200-case scenario that we spoke
16   colleague once was, you know, His own grandmother                     16    about or not, but I'll just run them by you.
17   could have it and he'd read the x-ray as negative.                    17                  In the case that you referenced where
18   BY MR. DUERK:                                                         18    attorneys or colleagues were potentially
19        Q.    All right.                                                 19    over-diagnosing cases of asbestos-related disease, you
20        A.    I mean, there was comments in the file from                20    indicate in your report that this is not proper
21   treating physicians, unrelated to any medical/legal                   21    practice. Fair?
22   work, who found certain things where CT scans were                    22            A.    Well, again, I -- I don't quite understand
23   positive, where the diagnosis was -- you know, it was                 23    the question. Again, I think each doctor as honestly
24   staring at you out of the pages of the medical                        24    as possible will render a judgment. That doesn't mean
25   records, and these so-called, you know, expert                        25    that there aren't doctors who don't use honest
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                                                                 42                                                                             44
 1   B-readers would say, There's nothing on the film, and,                 1    judgment. And if there are lawyers who work with
 2   you know, wouldn't find it. So there's a lot of                        2    those kinds of people, I don't work with them.
 3   factors that go into this.                                             3            Q.    Right. For example, Doctor, you have never
 4              I think at the end of the day any given                     4    told an attorney that you worked for that a patient
 5   physician ought to have enough trust in their own                      5    had a diagnosis of asbestos-related disease when you
 6   judgment and experience and validity as a doctor to                    6    knew that patient did not have a diagnosis. Fair?
 7   call them as they see them. It doesn't mean you don't                  7            A.    That's a fair statement. I mean, any time I
 8   look at other people's, you know, views on it, but,                    8    told a lawyer that I thought they had an asbestos
 9   you know, I -- the fact that there's something in a                    9    disease, I honestly felt they had an asbestos disease.
10   record that says that there's a positive film -- and,                 10            Q.    Okay. You've never told a court, a judge,
11   very frankly, you know, the fact that I still see                     11    or a jury that a patient had a diagnosis of
12   hundreds of asbestos cases a year, and I see a number                 12    asbestos-related disease when you knew that that
13   of so-called B-readers, I've actually questioned some                 13    patient did not have a diagnosis; correct?
14   of the attorneys, you know, Do you get a sense that                   14            A.    That would be perjury, as far as I
15   this guy tends to over-read? And they say, No; we                     15    understand it, and I've hopefully never perjured
16   think he, you know, calls them reliably. But I even                   16    myself.
17   question that now. So I think at the end of the day I                 17            Q.    You've never told any official with the
18   have to trust my own judgment in these cases no matter                18    federal government that a patient had a diagnosis of
19   what another physician thinks.                                        19    an asbestos-related disease when you knew that patient
20        Q.    And in this particular case, just to                       20    did not have a diagnosis; correct?
21   clarify, you didn't over-read any of the individuals                  21            A.    I don't think I've ever had interactions
22   referenced in the Third Amended Complaint here. You                   22    with people at the federal level other than doing some
23   didn't review the medical records or their CT scans;                  23    criminal work for the EPA, and in all of those cases
24   correct?                                                              24    it was too soon for anybody to have developed asbestos
25        A.    I can't answer that beyond saying this.                    25    disease, but I was being asked about what might happen
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                                                                                                                                    Exhibit 68-2
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                                           REMOTE DEPOSITION OF ARTHUR L. FRANK, M.D., Ph.D.
                                                                  45                                                                          47
 1    in the future rather than calling any one of those                     1    when they knew, the physician knew, they did not.
 2    people as having a disease at that period in time.                     2    Fair?
 3            Q.   Understood. But in any event, you would not               3            A.    Well, there's too many "ifs" in there. I
 4    yourself tell anyone from the federal government,                      4    mean, it depends on when the rib fracture was. If
 5    Medicare, ATSDR, CDC, that a person had a diagnosis of                 5    it's a fresh rib fracture but an old scar, then you
 6    an asbestos-related disease when you knew they did                     6    could have both of those at the same time. If it was
 7    not; correct?                                                          7    an old rib fracture and a new scar, then you would
 8            A.   I would -- I would hope I would tell nobody               8    have to at least consider that it might be from the
 9    that people have a disease when I didn't believe they                  9    rib fracture.
10    had it. And to this day, other than perhaps some of                   10                  It would also depend if there was evidence
11    those radiology readings, I'm not aware of any other                  11    of other scarring elsewhere in the lung or the pleura,
12    physicians besides those radiologists that I'm                        12    then you could presume that maybe it had to do with
13    thinking about that I've known anybody to ever do                     13    asbestos as well as the rib fracture. Not every rib
14    that.                                                                 14    fracture gives you a scar, and not every scar comes
15                 I think much more serious is physicians or               15    from asbestos.
16    people who have testified, or maybe even have told                    16            Q.    Understood. I'll try to clean up this
17    the government -- I don't know that in any specific                   17    hypothetical to get rid of the contingencies. Doctor,
18    case -- that people didn't have disease when they                     18    I want you to assume that you've read a CT scan of a
19    actually did.                                                         19    patient that indicates they have some abnormality due
20            Q.   Sure. So either of those practices, telling              20    to a rib fracture.
21    the government or a jury that someone had a diagnosis                 21            A.    That's assuming you knew it was due to the
22    that they knew didn't, that would be wrong and                        22    rib fracture. You're making -- you're pre-making a
23    improper in your mind; correct?                                       23    judgment before you're describing the findings of the
24            A.   Well, it's also a question of, you know, on              24    film.
25    what basis they thought they did or didn't have the                   25            Q.    All right.
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                                                                  46                                                                          48
 1    disease, if there's an honest disagreement. But if                     1            A.    So you get -- you're giving the answer you
 2    you're talking about willfully not telling the truth,                  2    want before you get to the real question. What -- you
 3    that's a different matter.                                             3    know, I'm not telling you how to ask me the questions,
 4            Q.   Okay. Let's go with just a hypothetical                   4    but you see a rib fracture --
 5    here. Abnormalities of the pleural area appear on                      5            Q.    Right.
 6    x-ray and CT scan, but not all abnormalities that                      6            A.    -- and there's evidence of scarring.
 7    appear on those radiographic studies are related to                    7            Q.    Yes.
 8    asbestos-related disease. Fair?                                        8            A.    You have to ask yourself, is it due to the
 9            A.   That's fair.                                              9    rib fracture or is it possible this could be due to
10            Q.   Okay. For example, a fractured rib can                   10    something else? That's the question.
11    appear as an abnormality on a chest x-ray or a CT                     11            Q.    Yep.
12    scan; correct?                                                        12            A.    And then you make the best judgment you can.
13            A.   It can, yes.                                             13            Q.    All right. Let's assume that you look at
14            Q.   And clearly a rib fracture is not an                     14    this film and you make the best judgment that you can,
15    abnormality on a CT scan or a chest x-ray that's                      15    and your best judgment is, The scarring I see is due
16    related to asbestos-related disease. Fair?                            16    to a rib fracture, not anything else.
17            A.   Unless you slipped on a pile of wet asbestos             17                  Are we on the same page now?
18    maybe it could be, but otherwise, no.                                 18            A.    Yes.
19            Q.   All right. And if the physician who read                 19            Q.    Okay. Suppose you know that the scarring is
20    the CT scan saw the abnormality caused by a rib                       20    due to a rib fracture, not an asbestos-related
21    fracture and knew that it was an abnormality due to                   21    disease. Would it be improper in your mind to report
22    the rib fracture, not asbestos-related disease, it                    22    to the jury, a court, or the federal government that
23    would be improper for that physician to report to                     23    that patient had a diagnosis of asbestos-related
24    anyone, judge, jury, or the government, that that                     24    disease?
25    patient had a diagnosis of asbestos-related disease                   25            A.    Again, it would depend if somebody also had
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                                                                                                                                        Exhibit 68-3
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                                         REMOTE DEPOSITION OF ARTHUR L. FRANK, M.D., Ph.D.
                                                                 49                                                                          51
 1   exposure to asbestos, how can you know for certain                     1            Q.    All right. And so -- and I think we've
 2   that it was caused by the rib fracture and that it was                 2    covered this, but you have not looked at the -- the
 3   not necessarily caused or contributed to also by the                   3    multiple individual CARD patient cases where there's
 4   asbestos?                                                              4    an allegation that CARD submitted Medicare claim forms
 5        Q.    I understand that, but suppose that you --                  5    who had no diagnosis of asbestos-related disease;
 6        A.    If you're telling me, you know -- again,                    6    correct?
 7   you're preordaining what the answer has to be by                       7            A.    I'm not aware of any such cases.
 8   putting those conditions on it.                                        8            Q.    All right. In terms of your review of
 9        Q.    Well, Doctor, I'm trying to make this as                    9    testimony or facts or evidence in this case, have you
10   simple as possible.                                                   10    seen any information related to Dr. Black's error rate
11        A.    Well, it's not a -- see, you know, medicine                11    on CT scans or chest x-rays?
12   isn't always simple. You know, if somebody has a rib                  12            A.    I have not.
13   fracture and has a scar --                                            13            Q.    Have you seen any information or testimony
14        Q.    Right.                                                     14    related to the diagnostic dissension rate between
15        A.    -- most radiologists would say, Oh, that's a               15    Dr. Black and outside radiologists?
16   scar from a rib fracture. But if you also tell them                   16            A.    I have not.
17   that someone's exposed to asbestos, the radiology                     17            Q.    Have you seen any information, evidence, or
18   report ideally should say, This could be the cause                    18    testimony about Dr. Black's practices related to the
19   of -- this could be because they were suffering from a                19    prescription for opioid pain medications in any
20   rib fracture, or it could be due to the asbestos. And                 20    individual patient case?
21   they look the same so you don't really know.                          21            A.    Other than knowing in some cases he has felt
22        Q.    Right. Well, what if the radiologist's                     22    it appropriate to prescribe opioids, I have no
23   report, the CT scan itself, and your own impression of                23    knowledge beyond that.
24   that CT are all the same; that this is a rib fracture                 24            Q.    Have you seen any information, evidence, or
25   not related to any previous asbestos exposure? So                     25    testimony about Dr. Black's prescription rate for
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                                                                 50                                                                          52
 1   with that hypothetical in mind --                                      1    fentanyl compared to other physicians'?
 2        A.    Yeah, then it would be inappropriate to say                 2            A.    I've seen no such documentation.
 3   this is now caused by asbestos. The only way that you                  3            Q.    In this case have you seen any documentation
 4   could know that a rib fracture and scarring was not                    4    related to a record known as the Libby screening
 5   caused by asbestos would be to say there was evidence                  5    dataset, or the master data set?
 6   of a rib fracture with scarring prior to someone being                 6            A.    I believe I know there is such a database,
 7   exposed to asbestos. That's the only way for certain                   7    but I've not seen it or know nothing about it.
 8   that you would know that that was the case.                            8            Q.    Have you performed any calculation of the
 9        Q.    Right. And if you, yourself, knew that this                 9    diagnostic dissension or radiographic read dissension
10   person didn't have an asbestos-related disease, you                   10    rate between Dr. Black and all outside physicians?
11   would not report to the judge, the jury, or the                       11            A.    I have not.
12   federal government that they had a diagnosis of                       12            Q.    In terms of an EHH form itself, Doctor, are
13   asbestos-related disease; correct?                                    13    you aware --
14        A.    You're quite right. I would not do that.                   14            A.    I'm not even -- I don't know what an EHH
15        Q.    Okay. In your review of radiographic scans                 15    form is.
16   of CARD patients or medical records for any CARD                      16            Q.    Okay. In terms of your own clinical
17   patients, you haven't seen any individual examples                    17    practice, Doctor, do you recall ever submitting any
18   where that scenario has played out, that being a                      18    Medicare claim forms on a patient's half -- behalf to
19   patient with a rib fracture, or without a diagnosis of                19    the Social Security Administration?
20   asbestos-related disease, that was reported to the                    20            A.    I've been fortunate in my academic practice;
21   federal government as having a diagnosis of                           21    I've never personally submitted a claim form to
22   asbestos-related disease; correct?                                    22    anybody. That's what the university billing
23        A.    I have no such knowledge; I've never seen                  23    department does, and I care nothing about it because
24   anything that was ever reported out of the CARD Clinic                24    none of my income came from whatever clinical fees I
25   to any federal agency.                                                25    generated.
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                                                                                                                                   Exhibit 68-4
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                                          REMOTE DEPOSITION OF ARTHUR L. FRANK, M.D., Ph.D.
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 1            A.   I left there in '83.                                      1            A.    Only to the extent that I know him to be --
 2            Q.   And aside from the meso or endstage cancer                2    in the best of my judgment and opinion to be an
 3    patients that you referenced, do you have any specific                 3    honorable, thoughtful, caring physician.
 4    recollection of any individual patient that you wrote                  4            Q.    Okay. And I believe that, if I heard you
 5    a scrip for an opioid due to asbestos-related disease?                 5    correctly, taking your time with a diagnosis is an
 6            A.   No specific patient that I can recall.                    6    important -- is important in an effort to avoid
 7            Q.   All right. Doctor, a couple of statements                 7    misdiagnosis of asbestos-related disease. Fair?
 8    here. I'd just like to see if you agree with them.                     8            A.    I didn't say that. I think doctors need to
 9                 It would be improper to make a claim for                  9    take whatever time is necessary to, you know, get to
10    Medicare benefits for a patient who is not eligible                   10    the bottom of a case.
11    for Medicare. Fair?                                                   11            Q.    Okay.
12            A.   I think on its face that would be a true                 12            A.    Sometimes cases -- sometimes cases are
13    statement.                                                            13    self-evident in the first two minutes, and sometimes
14            Q.   Okay. It would not be proper to include                  14    it takes two weeks, sometimes it takes two years.
15    false or misleading information on Medicare claim                     15    I've seen those kinds of cases when I did some work at
16    forms. Fair?                                                          16    the NIH, and sometimes you never come up with a
17            A.   If -- again, on the face of it, that's a                 17    diagnosis.
18    fair statement. I mean, people should be honest and                   18            Q.    Okay. And doctors should err on the side of
19    they should believe what they're writing is true, and                 19    not making a misdiagnosis. In other words, if a
20    have reason to believe so.                                            20    doctor, if they feel like they're in a rush to
21            Q.   Okay. Expert testimony must be based on                  21    diagnose, should stop and consider all available
22    facts, science, and personal knowledge. Fair?                         22    information before rendering a diagnosis.
23            A.   I was distracted by the phone for a second.              23            A.    Again, that's -- you know, that's far too
24            Q.   Oh, sure.                                                24    vague. I think every doctor should do the best they
25            A.   Yeah. Could you repeat the question,                     25    can under whatever circumstances to render the best
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                                                                  62                                                                          64
 1    please?                                                                1    diagnosis.
 2            Q.   Sure. Expert testimony must be based on                   2                  Look, you know, we have far too many
 3    facts, science, and personal knowledge; correct?                       3    shootings in this country. It was the surgeon in
 4            A.   That's what I believe. I've seen any number               4    Highland Park, you know, who had him on TV, you know,
 5    of situations from defense experts where that doesn't                  5    after the shooting there. He says, I'm a trauma
 6    seem to be the case.                                                   6    surgeon; I went out and I did the best I could with
 7            Q.   Okay. Fair to say that an expert who has                  7    the tools at hand.
 8    not reviewed any specific information about a specific                 8                  You make judgments under exigent
 9    topic should not offer an opinion on that topic?                       9    circumstances that you might not make if you had more
10    Fair?                                                                 10    time. You know, if you're working in an emergency
11            A.   That's too general. I mean, I don't know                 11    room you make judgments that sometimes are done
12    what you mean by hasn't reviewed. I mean, you know,                   12    quickly, but in other settings you have more time to
13    you're qualified in court as an expert in certain                     13    contemplate and to get to diagnoses. So it depends on
14    areas, and either the court believes you have                         14    the circumstances.
15    expertise or you're not, and who knows when you                       15            Q.    All right. Doctor, in a case where you were
16    reviewed it. So that's -- that's too general a                        16    the diagnosing physician and you knew that patient did
17    question that I can't answer.                                         17    not have a diagnosis of asbestos-related disease, you
18            Q.   All right. Opinions about another                        18    would not tell the patient, a judge, a jury, or anyone
19    individual's character are not a proper subject for                   19    else, that that patient had a diagnosis of
20    expert witness testimony. Agreed?                                     20    asbestos-related disease when you knew they did not.
21            A.   No, I don't agree. I think that's very                   21    Fair?
22    relevant. I make statements about, you know, certain                  22            A.    I would hope that -- I'm not on trial. I
23    other doctors, as they make statements about me.                      23    would hope that any judgment that I've ever make in --
24            Q.   Okay. Do you intend to offer any opinions                24    made about a patient is one that I carefully
25    about Dr. Black's character at trial in this matter?                  25    considered and made. Does that mean as a physician
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